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          17                            UNITED STATES DISTRICT COURT
          18                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                             SOUTHERN DIVISION
          19
                    MASIMO CORPORATION,                      CASE NO. 8:20-cv-00048-JVS (JDEx)
          20        a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,
          21        a Delaware corporation,                  MEMORANDUM OF POINTS AND
                                                             AUTHORITIES IN SUPPORT OF
          22                           Plaintiffs,           APPLE’S MOTION TO DISMISS THE
                                                             THIRTEENTH CAUSE OF ACTION
          23              v.                                 IN PLAINTIFFS’ SECOND
                                                             AMENDED COMPLAINT
          24        APPLE INC.,
                    a California corporation,                Hearing
          25
                                       Defendant.            Date:            October 5, 2020
          26                                                 Time:            1:30 p.m.
                                                             Courtroom:       10C
          27                                                 Judge:           Hon. James V. Selna
          28

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            1                                       I.    INTRODUCTION
            2              Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc.’s Second
            3       Amended Complaint (“SAC”) confirms that Plaintiffs do not have a valid trade secret
            4       claim against Apple. After seven months, three chances to plead a description of a single
            5       trade secret allegedly misappropriated by Apple, and an invitation from the Court to file
            6       their description under seal, Plaintiffs still fail to plead particular facts to support the
            7       weighty allegations that they made against Apple at the outset of this case—that Apple
            8       acquired Plaintiffs’ trade secrets and incorporated those secrets in the Apple Watch and
            9       Apple’s patent filings.
          10               The SAC fails on two fronts:
          11               First, Plaintiffs fail to describe any alleged trade secret with sufficient
          12        particularity.   Instead, Plaintiffs plead broad categories of information that are
          13        untethered to any alleged misappropriation and that are rife with catchall phrases that
          14        make it impossible to identify a tangible trade secret. Plaintiffs’ failure to describe the
          15        alleged trade secrets at this stage—seven months after filing the case and with leave to
          16        file under seal—is glaring. If Plaintiffs had a valid claim, they should have had no
          17        problem identifying the alleged trade secrets that they allege appear in the Apple Watch
          18        and Apple patent filings, which are public. Indeed, Plaintiffs allege that they could not
          19        have known about the alleged misappropriation until Apple’s patent filings and Watch
          20        were public, but Plaintiffs do not describe a single secret in either patents or the Watch.
          21               Second, Plaintiffs fail to plead misappropriation of any trade secret by Apple.
          22        Plaintiffs do not allege sufficient facts to plausibly claim that Apple acquired, disclosed,
          23        or used any of the broad categories information Plaintiffs set out as comprising their
          24        purported trade secrets. To the contrary, Plaintiffs fail to tie any of the broad categories
          25        of information to any alleged misappropriation by Apple, i.e., the incorporation of the
          26        alleged trade secrets in the Apple watch or in an Apple patent filing. Instead, Plaintiffs’
          27        misappropriation allegations hinge on a former employee, Marcelo Lamego, who
          28        worked for Apple for less than a year more than six years ago. Plaintiffs initially

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            1       insisted—contrary to California law—that Lamego not work in a broad field of
            2       technology. Now, not only do Plaintiffs fail to describe any trade secrets allegedly
            3       disclosed or used by Lamego, but Plaintiffs also fail to allege facts plausibly establishing
            4       that Apple knew or had reason to know that Lamego had a duty to maintain the secrecy
            5       of the unidentified information he purportedly shared with Apple, that Lamego breached
            6       that duty, or that Apple induced him to do so.
            7             After so many opportunities, it is apparent that Plaintiffs cannot plead a valid trade
            8       secret claim against Apple, and therefore their trade secret claim should be dismissed
            9       with prejudice.
          10                                         II.    BACKGROUND1
          11              Plaintiffs filed their first of three complaints in this case against Apple on January
          12        9, 2020. Dkt. 1. Apple moved to dismiss each of Plaintiffs’ seventeen claims, including
          13        Plaintiffs’ trade secret misappropriation claim. Dkt. 16. Plaintiffs initially opposed
          14        Apple’s motion to dismiss (Dkt. 21), but then—just days before the Court’s scheduled
          15        hearing on Apple’s motion—Plaintiffs filed their First Amended Complaint (“FAC”),
          16        on March 25, 2020 (Dkt. 28).
          17              On April 20, 2020, Apple moved to dismiss Plaintiffs’ FAC. Apple argued,
          18        among other things, that (1) Plaintiffs failed to describe their trade secrets with sufficient
          19        particularity (Dkt. No. 38-1 at 14–20), and (2) Plaintiffs failed to allege facts sufficient
          20        to support plausible misappropriation allegations (id. at 20–25). Plaintiffs Opposed.
          21        Dkt. No. 48 at 4–15. The Court agreed with Apple that Plaintiffs did not adequately
          22        plead a trade secret. Dkt. No. 60 at 7. On June 25, 2020, the Court granted Apple’s
          23        motion, dismissed Plaintiffs’ thirteenth cause of action for trade secret misappropriation,
          24        and permitted Plaintiffs 30 days to amend. Id. at 8. The Court permitted Plaintiffs to
          25        file their SAC under seal, thereby obviating any concern Plaintiffs could have about
          26        disclosing confidential information. Id. The Court did not reach Apple’s arguments as
          27
          28         1
                       The allegations in the Original Complaint, the FAC, and the SAC are treated as true
                    for purposes of this motion only.
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            1       to Plaintiffs’ misappropriation allegations. Id. at 3–8.
            2             Plaintiffs filed an Application to File their SAC Under Seal on July 24, 2020, to
            3       which they appended a copy of their SAC. Dkt. Nos. 88–89. Plaintiffs’ SAC changes
            4       little other than adding nine paragraphs of high level techniques and strategies. SAC
            5       ¶¶ 41–50; compare FAC ¶ 211, with SAC ¶¶ 39–50. Plaintiffs did not otherwise amend
            6       their SAC with respect to their trade secret misappropriation claim. Compare FAC
            7       ¶¶ 209–24, with SAC ¶¶ 228–42.
            8                                     III.   LEGAL STANDARD
            9             A complaint must contain “sufficient factual matter, accepted as true, to ‘state a
          10        claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
          11        (quoting Bell Atl. v. Twombly, 550 U.S. 544, 570 (2007)). For a claim to be facially
          12        plausible, a plaintiff must plead “factual content that allows the court to draw the
          13        reasonable inference that the defendant is liable for the misconduct alleged.” Id.
          14        Dismissal is warranted where a complaint fails to “raise a right to relief above the
          15        speculative level.” Twombly, 550 U.S. at 555. “Threadbare recitals of the elements of
          16        a cause of action, supported by mere conclusory statements, do not suffice.” Iqbal, 556
          17        U.S. at 678. The Court is not “‘bound to accept as true a legal conclusion couched as a
          18        factual allegation.’” Id. (quoting Twombly, 550 U.S. at 555).
          19              Plaintiffs filed their SAC only as an exhibit to their July 24, 2020 Application to
          20        File their SAC Under Seal. Dkt. No. 89. Although Plaintiffs’ SAC has not yet been
          21        docketed, Apple is proceeding with its motion to dismiss Plaintiffs’ SAC as though it
          22        were filed on July 24, 2020. As the Court has held, this case needs to move forward,
          23        and Apple therefore moves to resolve the trade secret portion of the case as quickly as
          24        possible.
          25                 IV.   PLAINTIFFS’ CUTSA CLAIM SHOULD BE DISMISSED
          26        A.    Plaintiffs Still Fail to Meet the Standard for Describing Their Alleged
                          Trade Secrets.
          27
          28              This Court set out the standard that Plaintiffs must meet to plead a trade secret

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            1       claim in its June 25, 2020 Order granting Apple’s motion to dismiss: “To adequately
            2       allege the existence of a trade secret, the plaintiff must describe the trade secret with
            3       sufficient particularity to separate it from matters of general knowledge in the trade or
            4       of special knowledge of those persons who are skilled in the trade, and to permit the
            5       defendant to ascertain at least the boundaries within which the secret lies.” Dkt. No. 60
            6       at 7 (quoting Acrisure of Cal., LLC v. SoCal Commercial Ins. Servs., 2019 WL 4137618,
            7       at *3 (C.D. Cal. Mar. 27, 2019)). “Although the plaintiff need not define every minute
            8       detail, ‘[t]he Ninth Circuit has rejected the use of catchall language, holding that such
            9       language is insufficiently specific because it does not clearly refer to tangible trade secret
          10        material.’” Id. (quoting Acrisure, 2019 WL 4137618, at *3) (internal quotation marks
          11        omitted). “The pleadings ‘must have enough specificity to provide both the Court and
          12        defendants with notice of the boundaries of this case.’” Id. (quoting Citcon USA, LLC
          13        v. RiverPay Inc., 2018 WL 6813211, at *4 (N.D. Cal. Dec. 27, 2018)). “A ‘laundry list
          14        of items . . . does not meaningfully define the trade secrets at issue.’” Id. (quoting
          15        Invisible Dot, Inc. v. DeDecker, 2019 WL 1718621, at *5 (C.D. Cal. Feb. 6, 2019)).
          16              Furthermore, while it should be obvious, Plaintiffs cannot merely list categories
          17        of information that could be secret.        Rather, Plaintiffs must set out an adequate
          18        description of the trade secrets that Plaintiffs allege were misappropriated by Apple.
          19        Vendavo, Inc. v. Price f(x) AG, 2018 WL 1456697, at *4 (N.D. Cal. Mar. 23, 2018)
          20        (plaintiff cannot “set out its purported trade secrets in broad, categorical terms, more
          21        descriptive of the types of information that generally may qualify as protectable trade
          22        secrets [instead of a] listing of particular trade secrets [plaintiff] has a basis to believe
          23        actually were misappropriated here” (emphasis added)).
          24              Finally, it is important that the Court offered Plaintiffs the opportunity to plead
          25        their alleged trade secrets under seal, thereby removing any concern on the part of
          26        Plaintiffs that their purported secrets would be publicly disclosed if described with
          27        particularity. Dkt. No. 60 at 8. Under these circumstances, Plaintiffs have no excuse
          28        for failing for the third time to clearly specify the information they allegedly consider to

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            1    “‘catchall’” phrasing that renders the descriptions useless for identifying the bounds of
            2    Plaintiffs’ claims. Acrisure, 2019 WL 4137618, at *3 (citation omitted). Indeed, each
            3    section follows the same formula: (a) a highly general statement of a technique or
            4    strategy (e.g.,                                      , plus (b) the phrase “information
            5    regarding the value and importance of such” technique or strategy, plus (c) a
            6    non-exclusive, non-exhaustive, catchall phase—“including,” plus (d) a list of
            7    non-exclusive examples of general categories related to the field. Overall, Plaintiffs use
            8    the term “including” fourteen times within the 10 paragraphs purportedly “identify[ing]
            9    the specific information that [they] contend is a trade secret.” This Court has specifically
          10     rejected such attempts at thoroughness because they “yield[] meaninglessness” and have
          11     an “unlimited reach” as to what information could potentially be labeled a trade secret.
          12     Emazing Lights LLC v. De Oca, 2016 WL 3658945, at *2 (C.D. Cal. Jan. 7, 2016); see
          13     also Becton, Dickinson & Co. v. Cytek Biosciences Inc., 2018 WL 2298500, at *3 (N.D.
          14     Cal. May 21, 2018) (allegations of “‘design review templates,’” “‘fluidics design files,’”
          15     or “‘source code files’” lacked particularity, especially when “preceded by the phrases
          16     ‘such files included’ and ‘such as’” (citations omitted)). By applying this formulaic
          17     structure with non-exclusive language, Plaintiffs’ trade secret descriptions are so open-
          18     ended that they fail to identify the alleged trade secrets with particularity.
          19           Furthermore, even if Plaintiffs had not relied on catchall phrases, Plaintiffs must
          20     not only describe a trade secret with enough particularity to separate it from general
          21     knowledge, but from general knowledge in the trade and from special knowledge of
          22     those persons skilled in the trade. Acrisure, 2019 WL 4137618, at *3. Allegations that
          23     consist of “broad categories of information that would be applicable to any business”
          24     and that are “indistinguishable from matters of general knowledge within [Plaintiffs’]
          25     industry” are insufficient. CleanFish, LLC v. Sims, 2020 WL 1274991, at *9 (N.D. Cal.
          26     Mar. 17, 2020). Such allegations are too high-level to give the Court or Apple notice of
          27     the boundaries of the alleged trade secret. Id.
          28           In Space Data, for example, the plaintiff alleged misappropriation relating to a

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            1    new clinical studies evaluating Masimo noninvasive patient monitoring technologies,”
            2    including relationships with “Researchers Steven Frank, M.D., James Rothschild, M.D.,
            3    and John Ulatowski, M.D. at Johns Hopkins Hospital in Maryland,” among many
            4    others).
            5          The Court need not determine whether this information is actually generally
            6    known to the public because these vague assertions—that
            7    are somehow secret, while Plaintiffs advertised extensively at least certain
            8    relationships—on their own highlight why the description of this category of trade
            9    secrets is insufficient. Veronica Foods, 2017 WL 2806706, at *7 (dismissing trade
          10     secret claim for lack of sufficient particularity regarding customer information, where
          11     plaintiff defined “‘Customer Information’” in its opposition including its “‘customer list;
          12     its contacts at the customer stores; customers’ ordering histories; information regarding
          13     customer needs, characteristics, and preferences; billing records; and information on
          14     cost, prices, and profit margins.’” (citation omitted)).
          15                  2.     Plaintiffs do not Describe a Single Alleged Trade Secret in the
          16                         Apple Watch or an Apple Patent Filing.
          17           An equally fundamental flaw is that Plaintiffs have not pled with particularity any
          18     of the secrets that allegedly were misappropriated. The test here is not whether Plaintiffs
          19     can simply list categories of information that, in a vacuum, could be trade secrets.
          20     Rather, Plaintiffs must plead with particularity the secrets allegedly misappropriated in
          21     this case. Vendavo, 2018 WL 1456697, at *4. Plaintiffs completely fail that test.
          22     Plaintiffs allege on information and belief that former employees, specifically Marcelo
          23     Lamego, disclosed Confidential Information to Apple (SAC ¶ 233), and that Apple used
          24     and disclosed the Confidential Information “into Defendants Products and by filing
          25     patent applications containing Plaintiffs’ Confidential information . . . ” (id. ¶ 236). But
          26     not a single one of the five categories of information set out by Plaintiffs in paragraphs
          27     41 through 50 of the SAC is tied to either the Apple Watch or an Apple patent filing.
          28     The SAC does not describe any Confidential information in the Apple Watch. The same

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            1    goes for the alleged incorporation of Confidential Information in Apple’s patent filings:
            2    The SAC does not describe a single patent filing containing Plaintiffs’ Confidential
            3    Information let alone by page and line number.
            4          Instead of describing the trade secrets allegedly incorporated in the Apple Watch
            5    and Apple patent filings (i.e., the trade secrets allegedly misappropriated in this case),
            6    Plaintiffs have merely set out broad categories of information that might contain trade
            7    secret information. The Court should dismiss Plaintiffs’ trade secret claim on this basis
            8    as well.
            9                 3.     Bates Numbers and File Names do Nothing to Save Plaintiffs’
          10                         Claim.
          11           At the end of each of the broad categories of information, Plaintiffs provide a list
          12     of documents by bates number and, in some instances, source code by file name.
          13     Plaintiffs do not quote or describe any portions of those documents; Plaintiffs merely
          14     allege that “documents that relate to the trade secrets described in the preceding
          15     paragraph include . . . .” certain bates-numbered documents. See, e.g., SAC ¶ 48
          16     (emphasis added). Plaintiffs do not allege that the documents are trade secrets or even
          17     that there is a trade secret within the documents—the documents, in Plaintiffs’ words,
          18     merely “relate” to the five broad categories of information set out in Plaintiffs’ SAC.
          19     This Court already rejected such an approach, explaining in its July 25, 2020 Order that
          20     “Plaintiffs’ broad references to types of information like ‘product plans,’ ‘personnel
          21     information,’ ‘product briefs,’ and ‘technical drawings,’ without reference to specific
          22     plans, briefs, or drawings, fails to plead a trade secret in a manner that gives Apple fair
          23     notice of the claim.” Dkt. No. 60 at 8. Pointing to volumes of documents that may
          24     “relate” to Plaintiffs’ alleged trade secrets (e.g., SAC ¶ 48) does nothing to “give[] Apple
          25     fair notice of the claim.” Id.
          26           Plaintiffs’ laundry lists of Bates numbers are nothing more than smoke and
          27     mirrors. Plaintiffs’ lists of Bates numbers and file names are not relevant to the
          28     sufficiency of the description of their trade secrets, and are not appropriate for evaluation

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            1    here, including because they are not attached to the SAC and Plaintiffs do not allege
            2    their contents in the SAC, do not describe their relevance, and do not provide sufficient
            3    context for Apple to understand their authenticity or relationship to the misappropriation
            4    claim. See In re Silicon Graphics Inc. Sec. Litig., 183 F.3d 970, 986 (9th Cir. 1999), as
            5    amended (Aug. 4, 1999) (review is generally limited to the contents of the complaint,
            6    but courts may consider documents “‘whose contents are alleged in a complaint and
            7    whose authenticity no party questions, but which are not physically attached to the
            8    [plaintiff’s] pleading.’” (citation omitted)); Acrisure, 2019 WL 4137618, at *3
            9    (“plaintiff must describe the trade secret ‘with sufficient particularity . . . to permit the
          10     defendant to ascertain at least the boundaries within which the secret lies’” (citation
          11     omitted)).
          12           Indeed, upon review of the documents, it is not clear that all of the documents
          13     even relate to the categories of information Plaintiffs describe, or that they are even
          14     relevant to Plaintiffs’ misappropriation claim. For example, Plaintiffs allege that Apple
          15     contacted Masimo regarding a potential collaboration in 2013 (SAC ¶ 19) and that
          16     Lamego joined Apple in 2014 (id. ¶ 24), but certain documents, including
          17                                                                   have a © stamp of 2019, and
          18                        has a stamp of © 2020. While there are other dates listed in the
          19     document from 2013 to 2014, it is unclear how these documents relate to Plaintiffs’
          20     claim that they were subject to misappropriation many years ago, when their © stamp
          21     suggests otherwise; at this point, their authenticity is even questionable. In addition,
          22     other documents include indecipherable, handwritten notebooks, e.g.,
          23     that Plaintiffs make no effort to connect to the actual statements in their pleading or
          24     explain their relevance with specificity.
          25           Most egregiously, Plaintiffs point to “source code” files (SAC ¶ 42), but provide
          26     no other information that would allow Apple to identify to which purported trade secrets
          27     within the broad category of                                           the files relate or to
          28     understand how those files define the bounds of their purported trade secrets. Without

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            1    more, a list of seemingly random file names does nothing to support the description
            2    required for an adequate pleading; instead, the list amounts to the same broad description
            3    that this Court has already rejected: “source code.” Dkt. No. 60 at 7–8; cf. Autodesk,
            4    Inc. v. ZWCAD Software Co., 2015 WL 2265479, at *5 (N.D. Cal. May 13, 2015)
            5    (denying motion to dismiss where source code trade secret was described as “source
            6    code which comprises AutoCAD 2007 and 2008 . . . including those portions of code
            7    that underlie the commands, interfaces and program files associated with the dozens of
            8    specific features which were wrongfully acquired and used in Defendants’ ZWCAD+
            9    2012 and 2014 programs.”). Specificity about these source code files is required.
          10           In sum, Plaintiffs continue to list categories “without reference to specific plans,
          11     briefs, or drawings . . . in a manner that gives Apple fair notice of the claim.” Dkt. No.
          12     60 at 8 (emphasis added).
          13     B.    Plaintiffs Still Fail to Allege Misappropriation.
          14           To allege misappropriation by “[a]cqui[sition],” Plaintiffs must allege that Apple
          15     acquired their trade secret(s) and knew or had reason to know that the trade secret was
          16     acquired by “improper means.” Cal. Civ. Code § 3426.1(b)(1). “Improper means”
          17     includes “breach or inducement of a breach of a duty to maintain secrecy.” Id.
          18     § 3426.1(a). To allege misappropriation by “[d]isclosure or use,” Plaintiffs must allege
          19     that Apple used or disclosed their alleged trade secrets without consent, and that either
          20     Apple “[u]sed improper means” to acquire those secrets or knew or should have known
          21     that its knowledge was “[d]erived from . . . a person who owed a duty to [Plaintiffs] to
          22     maintain its secrecy or limit its use.” Id. § 3426.1(b)(2). As Plaintiffs explained in their
          23     opposition to Apple’s Motion to Dismiss Plaintiffs’ FAC, Plaintiffs’ theories of
          24     misappropriation are that (1) Apple acquired information by improper means because
          25     Lamego breached his duty to maintain secrecy on Apple’s behalf; (2) Apple acquired
          26     information by improper means because Apple induced Lamego to breach his duty to
          27     maintain secrecy; (3) Apple used and disclosed information it acquired by improper
          28     means; or (4) Apple used and disclosed information it derived from Lamego, who had a

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            1    duty to maintain its secrecy. See Dkt. No. 48 at 12, 14 (citing FAC ¶¶ 216–18). Plaintiffs
            2    did not amend this aspect of their pleading—each of these theories is still not supported
            3    by alleged facts. Compare FAC ¶¶ 209–24, with SAC ¶¶ 228–42.
            4                  1.    Plaintiffs Fail to Plead that Apple Acquired, Used, or Disclosed
            5                        Plaintiffs’ Confidential Information.
            6           As set forth above, Plaintiffs do not describe with particularity any of the alleged
            7    secrets relevant to this case—namely the trade secrets that Plaintiffs claim Apple
            8    acquired and incorporated in the Apple Watch and Apple patent filings. Even if this
            9    Court finds that Plaintiffs sufficiently described their trade secrets, it should dismiss
          10     Plaintiffs’ thirteenth cause of action based on Plaintiffs’ failure to allege sufficient facts
          11     to plausibly claim that Apple acquired, disclosed, or used those specific trade secrets.
          12     This failing is particularly egregious because Plaintiffs have been alleging for seven
          13     months that Apple incorporated Plaintiffs’ Confidential Information in the Apple Watch
          14     and Apple’s patent filings. Dkt. No. 1 ¶¶ 179–91. Furthermore, Plaintiffs have evaded
          15     the statute of limitations on the basis that the misappropriation could not have been
          16     identified until Apple’s patent filings and the Apple Watch were public. Dkt. No. 60 at
          17     6 (citing FAC ¶¶ 25, 219–20); see also, e.g., SAC ¶ 237. Again, if Plaintiffs have a basis
          18     to plead that Apple misappropriated any of their trade secrets, Plaintiffs should have
          19     been able to identify their alleged secrets in the Apple Watch and in Apple’s public
          20     patent filings.
          21            Plaintiffs allege, on information and belief, that Apple “acquired Plaintiffs’ trade
          22     secrets” (SAC ¶ 234), and “used and disclosed Plaintiffs’ Confidential Information” (id.
          23     ¶ 235), “at least by incorporating it into [Apple’s] products and by filing patent
          24     applications containing Plaintiffs’ Confidential Information, without Plaintiffs’ express
          25     or implied consent” (id. ¶ 236). These conclusory assertions are not supported by
          26     adequate factual allegations and fail to provide a reasonable basis for this Court to infer
          27     that Apple improperly acquired, used, or disclosed Plaintiffs’ Confidential Information.
          28     Space Data, 2017 WL 5013363, at *2. Plaintiffs’ SAC alleges certain “specific trade

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            1    secrets” (see SAC ¶¶ 40–50), but Plaintiffs make no attempt to show whether or how
            2    Apple acquired them or incorporated them into Apple’s products or patent applications.
            3          With respect to acquisition, Plaintiffs fail to allege that, even if Apple acquired
            4    Plaintiffs’ information, Apple acquired Plaintiffs’ Confidential Information.          They
            5    certainly fail to allege that Apple acquired any of Plaintiffs’ “specific trade secrets” (id.
            6    ¶¶ 40–50). Plaintiffs’ acquisition allegations are nearly identical to those found to be
            7    insufficient in Pellerin v. Honeywell International, Inc., 877 F. Supp. 2d 983 (S.D. Cal.
            8    2012). In Pellerin, the counterclaim plaintiff alleged that (1) a former employee was
            9    “allegedly exposed to trade secrets and confidential information,” (2) the former
          10     employee signed an employment contract and nondisclosure agreement prohibiting
          11     disclosure of that confidential information, and (3) the counterclaim plaintiff sent a
          12     warning letter to the accused employer (counterclaim defendant).            Id. at 986–87.
          13     Concluding that the counterclaim plaintiff did “not allege any facts” or “circumstantial
          14     evidence” in support of the legal conclusion that the accused employer acquired any
          15     trade secrets, the Court in Pellerin dismissed the party’s trade secret claim. Id. at 989–
          16     90.
          17           With respect to use and disclosure, Plaintiffs do not point to anything in the Apple
          18     Watch that uses any secret
          19
          20     SAC ¶¶ 235–36. Plaintiffs “need not be clairvoyant and allege exactly how [Apple] is
          21     improperly using its trade secrets” in its Apple Watch, but “the current allegations are
          22     insufficient” insofar as Plaintiffs fail to identify anything at all in the Apple Watch that
          23     incorporates Plaintiffs’ alleged trade secrets. Space Data, 2017 WL 5013363, at *2; see
          24     also MedioStream, Inc. v. Microsoft Corp., 869 F. Supp. 2d 1095, 1113–14 (N.D. Cal.
          25     2012). Plaintiffs’ failure to allege any facts with respect to Apple’s patent applications
          26     is equally inexcusable. Apple’s patent applications are publicly available and thus this
          27     information is “in the knowledge of the pleading party.” Cf. Calendar Research LLC v.
          28     StubHub, Inc., 2017 WL 10378336, at *4 (C.D. Cal. Aug. 16, 2017). Furthermore,

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            1    Plaintiffs should be able to more clearly specify all of this information because the Court
            2    allowed Plaintiffs to file the SAC under seal. Bladeroom, 2015 WL 8028294, at *3. If
            3    there were a valid trade secret claim here, Plaintiffs would have identified by line and
            4    page number in their pleading where their purported trade secrets appear in Apple’s
            5    patents or applications. This is the third time they have failed to do so.
            6          Plaintiffs fail to allege any facts sufficient to support their misappropriation
            7    allegations, and for this reason too, their trade secret claim fails. Pellerin, 877 F. Supp.
            8    2d at 989.
            9                 2.     Plaintiffs Still Fail to Allege Apple’s Knowledge.
          10           Plaintiffs still fail to allege facts plausibly establishing that Apple knew or had
          11     reason to know that Lamego had a duty to maintain the secrecy of the specific
          12     information purportedly shared with Apple, that Lamego breached that duty, or that
          13     Apple induced him to do so. “‘Alleging mere possession of trade secrets is not enough.’”
          14     Pellerin, 877 F. Supp. 2d at 989 (citation omitted). “‘An acquirer is not liable under the
          15     CUTSA unless he knew or had reason to know that the trade secret was improperly
          16     disclosed.’” Carr v. AutoNation Inc., 2018 WL 288018, at *2 (E.D. Cal. Jan. 4, 2018)
          17     (internal brackets and quotation marks omitted) (citation omitted); see also UAB
          18     “Planner 5D” v. Facebook, Inc., 2019 WL 6219223, at *11 (N.D. Cal. Nov. 21, 2019)
          19     (granting motion to dismiss where plaintiff only “conclusorily alleges that Facebook
          20     knew or should have kn[own] but does not plausibly allege facts to support that
          21     contention”).
          22           Plaintiffs allege that Apple “knew” that “Lamego was the [CTO] of Cercacor and
          23     a Research Scientist at Masimo” and that “Plaintiffs considered the information
          24     confidential by virtue of [Apple’s] prior relationship with Plaintiffs.” SAC ¶ 234. These
          25     allegations do not support a plausible inference that Apple knew or had reason to know
          26     that Lamego had a duty to maintain confidentiality of the specific information
          27     purportedly shared with Apple, or that Apple knew or had reason to know that specific
          28     information was confidential. See id. ¶¶ 233–36. Without such knowledge, Apple could

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            1    not have any reason to know that Lamego breached his duty to maintain secrecy or that
            2    Apple had induced him to do so. E.g., CleanFish, 2020 WL 1274991, at *10 (“Plaintiff
            3    does not allege any factual basis to support the conclusion that [] Defendants knew that
            4    the information [the former employee] provided . . . was actually Plaintiff’s [or] knew
            5    that it was protectable . . .”); MedioStream, 869 F. Supp. 2d at 1114 (dismissing trade
            6    secrets claims because plaintiff did not sufficiently allege that defendant, which had
            7    received technology from a third party under contract with plaintiff, knew the third party
            8    was not authorized to provide that technology).
            9          Plaintiffs also allege that (1) Apple “knew” “Lamego was under a duty to maintain
          10     the secrecy of the information he obtained from Plaintiffs” under his “employer-
          11     employee relationship, fiduciary relationship, and Lamego’s employment agreements”;
          12     and (2) Apple received a letter explaining that Lamego possessed confidential
          13     information and asking Apple not to use it. SAC ¶ 234. These allegations concerning
          14     Lamego’s employment agreements do not support a plausible inference that Apple knew
          15     or had reason to know which specific information Lamego purportedly had a duty to
          16     maintain its secrecy. See Zora Analytics, LLC v. Sakhamuri, 2013 WL 12124612, at *4
          17     (S.D. Cal. June 18, 2013) (concluding claim not adequately pleaded because the
          18     agreement “may or may not have covered the trade secret at issue”).
          19           Plaintiffs’ reliance on the January 24, 2014 letter to Apple is particularly
          20     problematic. While Plaintiffs claim that Apple should have honored the letter, the letter
          21     violates California law.    Without identifying any specific trade secrets, Plaintiffs
          22     asserted that Lamego had been exposed to Plaintiffs’ alleged trade secrets, and asked
          23     Apple to “‘employ Mr. Lamego in an area that does not involve healthcare technology,
          24     including mobile health applications and the measurement of physiological
          25     information.’” SAC ¶ 23. But California law has long rejected the premise that a former
          26     employer may control an employee’s choice of work based only on the notion that the
          27     employee will “inevitably disclose” what they know. Whyte v. Schlage Lock Co., 101
          28     Cal. App. 4th 1443, 1462 (2002) (“We agree the doctrine of inevitable disclosure

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            1    ‘creates a de facto covenant not to compete’ and ‘runs[s] counter to the strong public
            2    policy in California favoring employee mobility.’”). In sum, the anti-competitive letter,
            3    which like Plaintiffs’ SAC does not reference any specific trade secrets, is not a basis
            4    for alleging knowledge of misappropriation by Apple.
            5          Thus, because Plaintiffs do not allege sufficient facts to infer that Apple knew or
            6    had reason to know that Lamego had a duty to maintain the secrecy of the specific
            7    information purportedly shared with Apple, Lamego breached that duty, or that Apple
            8    induced him to do so, Plaintiffs’ allegations do not support a plausible inference of
            9    misappropriation.
          10                  3.     Plaintiffs Still Fail to Allege that Apple Induced a Breach.
          11           Plaintiffs allege acquisition by improper means because Apple induced Lamego
          12     to breach his duty to maintain secrecy. The SAC includes only the single conclusory
          13     statement that “Defendant induced Lamego to disclose Plaintiffs’ Confidential
          14     Information.” SAC ¶ 234. Nothing more. Plaintiffs still allege absolutely no facts
          15     describing how Apple purportedly induced such a breach. Plaintiffs contend that they
          16     are not required to allege “precisely what Apple did to induce a breach” (Dkt. No. 48 at
          17     13), and that they need only plead the allegation “on information and belief” because the
          18     information “‘is not presumptively in the knowledge of the pleading party’” (id. (quoting
          19     Calendar Research, 2017 WL 10378336, at *4)). But Calendar Research did not create
          20     an exception to the pleading rule established in Twombly, 550 U.S. 544, and Iqbal, 556
          21     U.S. 662, and it does not give free license for a trade secret plaintiff to engage in
          22     unbridled speculation. See Menard v. CSX Transp., Inc., 698 F.3d 40, 44 (1st Cir. 2012)
          23     (“‘Information and belief’ does not mean pure speculation.”).
          24           An allegation pleaded “on information and belief” must “still contain some factual
          25     content; conclusory allegations . . . will not suffice.” General Pleading Requirements,
          26     Rutter Group Prac. Guide Fed. Civ. Pro. Before Trial Ch. 8-B (Apr. 2020); see also 5
          27     Fed. Prac. & Proc. Civ. § 1224 (3d ed.) (pleading on “information and belief” requires
          28     plaintiff to have “sufficient data to justify interposing an allegation on the subject”). The

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            1    Ninth Circuit has rejected allegations based “upon information and belief” where no
            2    further facts were alleged. See Vivendi SA v. T-Mobile USA Inc., 586 F.3d 689, 694 (9th
            3    Cir. 2009); see also Simonyan v. Ally Fin. Inc., 2013 WL 45453, at *2 (C.D. Cal. Jan. 3,
            4    2013) (allegations “based on ‘information and belief’ and contain[ing] nothing more
            5    than a rote recitation of the required elements of [the] claim. . . . fall well short of the
            6    requirements set forth in Iqbal”).
            7          Accordingly, because Plaintiffs still have not alleged any facts underlying their
            8    inducement conclusion in the SAC, their “bare” conclusions are insufficient under
            9    Twombly and Iqbal.
          10     C.    Plaintiffs Should Be Denied Leave to Amend Their CUTSA Claim.
          11           A court granting a motion to dismiss a complaint must also decide whether to
          12     grant leave to amend. Although this court may grant leave to amend when justice so
          13     requires, “[t]he district court’s discretion to deny leave to amend is particularly broad
          14     where plaintiff has previously amended the complaint.” Allen v. City of Beverly Hills,
          15     911 F.2d 367, 373 (9th Cir. 1990). In determining whether to grant leave to amend, the
          16     Court considers factors such as “repeated failure to cure deficiencies by amendments
          17     previously allowed, undue prejudice to the opposing party by virtue of allowance of the
          18     amendment, [and] futility of amendment.” Forman v. Davis, 371 U.S. 178, 182 (1962).
          19     “[F]utile amendments should not be permitted.”            Klamath-Lake Pharm. Ass’n v.
          20     Klamath Med. Serv. Bureau, 701 F.2d 1276, 1293 (9th Cir. 1983). And “[r]epeated
          21     failure to cure deficiencies by previous amendment” is reason enough to deny leave to
          22     amend. Abagninin v. AMVAC Chem. Corp., 545 F.3d 733, 742 (9th Cir. 2008).
          23           Here, after seven months, three chances to plead a plausible trade secret claim,
          24     and an invitation from the Court to file their trade secret descriptions under seal,
          25     Plaintiffs still fail to plead sufficient facts to support their allegations against Apple. If
          26     Plaintiffs have a basis to plead that Apple misappropriated any of their trade secrets,
          27     Plaintiffs would have done so by now—allowing further amendment would be futile.
          28     GeoData Sys. Mgmt., Inc. v. Am. Pac. Plastic Fabricators, Inc., 2016 WL 6601656, at

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            1    *8 (C.D. Cal. July 25, 2016) (“Because GeoData has now had three opportunities to state
            2    a claim . . . and has failed to do so, the Court concludes that further amendment would
            3    be futile and dismisses the [] claim with prejudice.”); Basalite Concrete Prod., LLC v.
            4    Nat’l Union Fire Ins. Co. of Pittsburgh, PA., 2013 WL 2156582, at *9 (E.D. Cal. May
            5    17, 2013), aff’d, 615 F. App’x 894 (9th Cir. 2015) (“Because the court has already
            6    permitted plaintiffs to amend their pleadings and it appears that plaintiffs are unable to
            7    state a viable claim against defendants, all claims will be dismissed with prejudice and
            8    without leave to amend”). Further amendment would also cause delay and undue
            9    prejudice to Apple. Plaintiffs’ trade secret claim should be dismissed without leave to
          10     amend.
          11                                     V.      CONCLUSION
          12           Apple respectfully requests that the Court dismiss Plaintiffs’ Thirteenth Cause of
          13     Action for trade secret misappropriation with prejudice.
          14     Dated: August 14, 2020                  Respectfully submitted,
          15                                             JOSHUA H. LERNER
                                                         H. MARK LYON
          16                                             BRIAN M. BUROKER
                                                         BRIAN A. ROSENTHAL
          17                                             ILISSA SAMPLIN
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          21                                                 Joshua H. Lerner
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